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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


UNITED STATES OF AMERICA,                       CR 16-107-BLG-SPW-TJC-7

                    Plaintiff,
                                                 FINDINGS AND
vs.                                              RECOMMENDATION OF
                                                 U.S. MAGISTRATE JUDGE
CHRISTINA KAMRAN-KOHNJANI,

                    Defendant.




      The Defendant, by consent, appeared before me under Fed. R. Crim. P. 11

and entered a plea of guilty to the Superseding Information (Doc. 178), which

charges the crime of possession with intent to distribute methamphetamine, in

violation of 21 U.S.C. § 841(a)(1).

      After examining the Defendant under oath, the Court determined:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against her;

      2. That the Defendant is aware of the nature of the charge against her and

the consequences of pleading guilty to the charge;




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      3. That the Defendant fully understands her pertinent constitutional rights

and the extent to which she is waiving those rights by pleading guilty to the

criminal offense charged against her; and

      4. That her plea of guilty to the criminal offense charged against her is

knowingly and voluntarily entered, and is supported by independent factual

grounds sufficient to prove each of the essential elements of the offense charged.

      Defendant had adequate time to review the Plea Agreement (Doc. 173) with

counsel. Defendant fully understands each and every provision of the agreement,

and all of the statements in the Plea Agreement are true.

      Therefore, I recommend that the Defendant be adjudged guilty of the charge

in the Superseding Information and that sentence be imposed.

      Objections to these Findings and Recommendation are waived unless filed

and served within fourteen (14) days after the filing of the Findings and

Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim. P 59(b)(2).

      DATED this 20th day of April, 2017.



                                       _______________________________
                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge




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